Page 1 of 1

Case 8:24-ap-01105-SC Doc4-3 Filed 08/10/24 Entered 08/12/24 17:41:51 Desc
Press firmly to seal

PRESS FIRMLY TO SEAL

9589 0710 5270 1775 3bhee b0

U.S. POSTAGE PAID
PM

WWI ese

e701 $44.70

RDC 03 $2324A502099-18

=—y UNITED STATES PRIORITY®
Ban POSTAL SERVICE © MAIL

= Expected delivery date specified for domestic use.

= Most domestic shipments include up to $50 of insurance (restrictions apply).*

@ USPS Tracking® included for domestic and many international destinations.
® Limited international insurance.**

= When used internationally, a customs declaration form is required.

“Insurance does not cover certain items. For details regarding claims exclusions see the
Domestic Mail Manual at http://pe.usps.com.

** See International Mail Manual at http://pe.usps.com for availability and limitations of coverage.

FLAT RATE ENVELOPE

ONE RATE @ ANY WEIGHT

TR AC KED Bi | N S U R E D To schedule free Package Pickup,

scan the QR code.

EP14F May 2020
500001000014 OD: 12 1/2 x 9 1/2 USPS.COM/PICKUP

| ERMAA-

PRIORITY Bad posta service»
* MAIL * Wis USAT USES CoM

Pawiae CA 93550

TO: BB Wore [Troe
US. Baneruprcs) Cory Sor Conrro\

Drom ox Edtunnn
Dal W Fort, St,

i

FOR DOMESTIC AND INTERNATIONAL USE

Label 228, March 2016 |

3
o
e
o
a
2
2
i
Cc
<
S
Nu
3°
N
>
x
=
3
2
c
o
no
3
a
9
a
G
=
°@
uw
<
=
a
Ww
s
®
o
2
i
S
2
o
<
2
o
§
o
9
a
3
=
8
g
©
UD
2
2
o
S
S
a
3
2
>
o
o
2
s
&
o
®
a
=
3
2

i i jori i i i ® shipments.
This packaging is the property of the U.S. Postal Service® and is provided solely for use in sending Priority Mail® and Priority Mail International® shipmen

